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           IN THE UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF MONTANA
                     GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  ) Case No. CR 18-14-GF-BMM
                                          )
STANLEY PATRICK WEBER,                    )
                                          )
             Defendant.                   )

MOTION TO DISCLOSE INTENT TO CALL EXPERT WITNESSES
 AND DISCOVERY PURSUANT TO RULE 16(a)(1)(F) AND (G),
                   FED.R.CRIM.P.

      COMES NOW the Defendant, Stanley Patrick Weber, by and
through his attorney, Ryan T. Cox, of the law firm of Springer and
Steinberg, P.C., and hereby moves this Honorable Court for the entry of an
Order directing the United States Government to notify the defense of its
intent to call expert witnesses pursuant to Rule 702, 703 or 705, F.R.E., and
for each such expert witness, discovery as provided for in Rule 16(a)(1)(F)
and (G), Fed.R.Crim.P.
      AS GROUNDS THEREFOR, the Defendant states as follows:
      1.     Fed.R.Crim.P. Rule 16(a)(1)(F) states in pertinent part:
             (F) Reports of examinations and tests. Upon a
             defendant's request, the government must permit a
             defendant to inspect and to copy or photograph the
             results or reports of any physical or mental examination
             and of any scientific test or experiment if:
             (i) the item is within the government's possession,
             custody, or control;
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             (ii) the attorney for the government knows—or through
             due diligence could know—that the item exists; and
             (iii) the item is material to preparing the defense or the
             government intends to use the item in its case-in-chief at
             trial.

      2.     Fed.R.Crim.P. Rule 16(a)(1)(G) states in pertinent part:

             (G) Expert Witnesses. At the defendant's request, the
             government must give to the defendant a written
             summary of any testimony that the government intends to
             use under Rules 702, 703, or 705 of the Federal Rules of
             Evidence during its case-in-chief at trial. … The
             summary provided under this subparagraph must
             describe the witness's opinions, the bases and reasons
             for those opinions, and the witness's qualifications.
             (Emphasis added.)

      3.     The material to which the Defendant is entitled pursuant to
Rule 16 Fed.R.Crim.P., both with respect to scientific and other expert
testimony, is essential to determine whether a challenge to the admissibility
of such testimony is appropriate under either Daubert v. Merrell Dow
Pharmaceuticals, Inc., 509 U.S. 579 (1993) or Kumho Tire v. Carmichael,
119 S.Ct. 1167 (1999).
      4.     In order to make a timely request for a hearing under Daubert
or Kumho Tire, supra, or for the services of a chemist or other expert
witness to assist the defense, the Defendant requests the Court to direct the
Government to provide this information at least sixty (60) days before trial.
      WHEREFORE, the Defendant prays for the relief requested, and for
such other and further relief as to the Court seems just and proper in the
premises.
      Dated this 13th day of April, 2018.



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                          Respectfully submitted,

                          /s/ Ryan T. Cox
                          Ryan T. Cox,
                          Admitted Pro Hac Vice
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                          Florida Bar Number 0032686
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                          Denver, CO 80202
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                          rcox@springersteinberg.com

                      CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of April, 2018, I electronically
filed the foregoing motion with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to all parties entered in the
case.

                          /s/ Ryan T. Cox
                          Ryan T. Cox,
                          Admitted Pro Hac Vice
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